     Case 3:16-cv-02077-GAG-BJM Document 167 Filed 12/20/17 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTÍNEZ GONZÁLEZ, ET AL.,              CIVIL No. 16-2077 (GAG-BJM)

       Plaintiffs,

              v.

CATHOLIC SCHOOLS OF THE
ARCHDIOCESES OF SAN JUAN PENSION
PLAN, ET AL,

    Defendants.
NORMA I. CARDOZA ESTREMERA, ET AL.,               CIVIL No. 16-2318 (GAG-BJM)

       Plaintiffs,

              v.

COLEGIO PADRE BERRÍOS, ET AL.,

       Defendants.

    INFORMATIVE MOTION ON DOCKET 152, REQUESTING ENTRY OF
        ORDER AND FURTHER EXTENSION OF TIME TO SUBMIT
      MOTION FOR SUMMARY JUDGMENT ON THE CHURCH PLAN
                     EXEMPTION DEFENSE

TO THE HONORABLE COURT:

       COMES NOW co-defendants in Civil No. 16-2077, Juan Santa (“Mr. Santa”) and

Rosa Figueroa (“Mrs. Figueroa”, together with Mr. Santa “co-defendants”), through the

undersigned counsel, and very respectfully state and pray as follows:

       1.     On November 22, 2017, this Honorable Court entered an Order setting

December 20, 2017 as the new deadline to file dispositive motions on the Church Plan

Exemption defense. See Docket No. 155.

       2.     As informed in a previous motion for extension of time to submit their

dispositive motion (Docket No. 152), as of November 20, 2017, plaintiffs have yet to

produce the transcripts of the depositions of Mr. Francis Ouellette and Mrs. Anabel P.

Casey. Unfortunately, this is still true today.
      Case 3:16-cv-02077-GAG-BJM Document 167 Filed 12/20/17 Page 2 of 3



       3.      Co-defendants have been diligent and in multiple occasions reached out to

plaintiffs’ counsel by e-mail and telephone requesting copy of the transcripts.                    See

Exhibit A. As of this date, and despite multiple demands, the aforementioned

transcripts have not yet been received.

       4.      These transcripts are critical to the dispositive motion and an integral part

of its supporting statement of material facts. The admissions of Mr. Francis Ouellette

and Mrs. Anabel P. Casey, plaintiffs’ two (2) key witnesses, are dispositive since the

testimonies of said witnesses appear to be the underpinnings of plaintiffs’ evidence.

       5.      In support of its anticipated filing, co-defendants will need to append

portions of the testimony of both witnesses to the statements of material facts they

intend to file.     Thus, the absence of said transcripts prevents co-defendants from

complying with Local Rule 56(b) and (e)1.

       6.      Accordingly, co-defendants very respectfully request this Honorable Court

to order plaintiffs to produce the transcripts of the depositions of Mr. Francis Ouellette

and Mrs. Anabel P. Casey forthwith, and – if the deadline to file dispositive motions

pending the issuance of a Report and Recommendation as to the Motion to Dismiss2 is

not stayed- grant an additional extension of time of thirty (30) days, from the date the

transcripts are finally delivered, to file their dispositive motion. See e.g. Franco-

Laureano v. United States, 2014 WL 1333987 (D.P.R. 2014) (where the Court issued an

order setting a deadline for plaintiff to produce deposition transcripts and, as a result,

extending the time for defendant to file a motion for summary judgment).

       7.      For the reasons stated above, co-defendants respectfully submit that there

is good cause for an extension of the case management deadline to file dispositive
1 It is also worth noting that pending before this Court is the request made by co-defendant the
Superintendence of the Catholic Schools of the Archdioceses of San Juan to stay the “summary judgment
deadline” until resolution of the Motion to Dismiss. See Docket No. 154.

2The Motion to Dismiss was filed on July 17, 2018 by the Superintendence of the Catholic Schools of the
Archdioceses of San Juan and the Trust of the Catholic Schools of the Archdioceses of San Juan Pension
Plan. See Docket No. 117.

                                                  2
     Case 3:16-cv-02077-GAG-BJM Document 167 Filed 12/20/17 Page 3 of 3



motions in this case.     This request is not intended to cause undue delay of the

proceedings in this case, but rather stems from circumstances outside co-defendants’

control that materially impact the ability to defend themselves in this case.

       WHEREFORE, appearing co-defendants respectfully requests that this

Honorable Court to allow this motion and, as a result, (i) order plaintiffs to provide the

transcripts of the depositions of Mr. Francis Ouellette and Mrs. Anabel P. Casey

forthwith; and (ii) if the deadline to file dispositive motions pending the issuance of a

Report and Recommendation as to the Motion to Dismiss is not stayed, grant an

additional extension of time of thirty (30) days, from the date the transcripts are finally

delivered, to file their dispositive motion on the Church Plan Exemption defense.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 20th of December of 2017.

       IT IS HEREBY CERTIFIED that on this same date a true and exact copy of the
foregoing motion was filed electronically with the Clerk of Court via the CM/ECF
system, which will send notification of such filing to all attorneys of record.

                             ADSUAR MUÑIZ GOYCO
                          SEDA & PEREZ-OCHOA, P.S.C.
                        Counsel to Mr. Santa and Mrs. Figueroa
                                    P.O. Box 70294
                          San Juan, Puerto Rico 00936-8294
                                  Tel.: 787. 756.9000
                                   Fax: 787. 756.9010

                                   /s/Eric Pérez-Ochoa
                                  ERIC PÉREZ-OCHOA
                                  USDC-PR No. 206314
                                   epo@amgprlaw.com

                                /s/Alexandra C. Casellas
                               ALEXANDRA C. CASELLAS
                                  USDC-PR No. 301010
                                acasellas@amgprlaw.com

                               /s/Lourdes Arroyo-Portela
                             LOURDES ARROYO-PORTELA
                                  USDC-PR No. 226501
                                 larroyo@amgprlaw.com


                                             3
